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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

   WAYNE PARROT,

                                Plaintiff,

   vs.                                                   Case No. 3:13-cv-1094-J-34JRK

   GE CAPITAL RETAIL BANK/JC PENNEY
   CORPORATION, INC.,

                         Defendant.
   _____________________________________/


                                      ORDER OF DISMISSAL

           This matter is before the Court on the Joint Stipulation of Dismissal (Dkt. No. 16;

   Stipulation) filed on August 27, 2014. In the Stipulation, the parties request dismissal of this

   matter with prejudice. See Stipulation at 1. Accordingly, it is hereby ORDERED:

           1.    This case is DISMISSED with prejudice.

           2.    The Clerk of the Court is directed to terminate all pending motions and close

   the file.

           DONE AND ORDERED in Jacksonville, Florida, this 28th day of August, 2014.
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   Copies to:

   Counsel of Record




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